Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 1 of 14 Page|D# 48

IN THE UNITED STATES DISTRICT COURT FOR THE

EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA )
v. § Criminal No. l:lS-CR-00042 (LO)
GARY A. DUFF, §
Defendant. §
)

GOVERNMENT’S MEMORANDUM IN AID OF SENTENCING

The United States of America, by and through the undersigned counsel, respectfully
submits this memorandum in aid of the sentencing hearing for the defendant, Gary A. Duff
(“Duff’), Which is scheduled for July 6, 2018, at 9:00 a.m.

On February 12, 2018, Duff Waived indictment and pled guilty to a one-count criminal
information charging him With conspiracy to defraud the United States and commit Wire fraud, in
violation of 18 U.S.C. § 371 .1 Pursuant to a plea agreement and Rule ll(c)(l)(B) of the Federal
Rules of Criminal Procedure, the parties agreed to the following:2 (l) Duff’s base offense level
is a level 6 pursuant to United States Sentencing Guidelines (“U.S.S.G.” or “Sentencing

Guidelines”) § 2Bl.1(a)(2); (2) the loss amount totaled between $250,000 and $1.5 million,

 

l Duff’ s co-conspirator, Steven J. Graves (“Graves”), pled guilty on September 20, 2017,

to a two-count criminal information charging him With conspiracy to defraud the United States
and commit Wire fraud, in violation of 18 U.S.C. § 371, and a Willful violation of the conflict of
interest statute, 18 U.S.C. § 208. On January 23, 2018, the Court sentenced Graves to 15 months
imprisonment after granting a government motion. When imposing Graves’ sentence, the Court
agreed With the government’s loss amount calculation

2 The guideline calculations set forth in the plea agreement are not binding on the Court
and are offered only to assist the Court in determining the appropriate guidelines range.

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 2 of 14 Page|D# 49

thereby warranting either a 12 or 14-level enhancement pursuant to U.S.S.G. § 2B1.1(b)(1); and
(3) for restitution purposes, the Department of State (“DOS”) suffered a loss of at least $250,000.

Duff is aware that if the Court accepts the parties’ recommended proposals, the total
guideline calculation, when including a three-level reduction for Duff’ s timely acceptance of
responsibility, would be either Level 17 (24-30 months) or Level 15 (18-24 months), depending
on the calculated loss amount. The government respectfully submits that the loss amount in this
matter is $1,372,496.61, which is the same figure that the Court adopted and applied during
Graves’ sentencing hearing. The government further requests a two-level upward adjustment for
Duff’s obstructive behavior pursuant to U.S.S.G. § 3C1.1, and it recommends a term of
imprisonment within the applicable guideline range.
I. Factual Background

A. The Scheme to Defraud

Duff’ s plea agreement incorporates a five-page statement of facts that concisely
summarizes the detailed, 24-page statement of facts to which Graves admitted See United States
v. Steven J. Graves, Crim. Case No. 1:17-cr-205, Dkt. 5 . As set forth in those documents, Duff
was the president and chief executive officer of a TeXas construction company, Honest,
Experienced, Reliable, Contracting Solutions LLC (“HERC”), which Duff formed in March
2011. HERC specialized in international construction projects for the U.S. government in
developing countries and military zones. See Dkt. 8 (statement of facts) at 1[11 4-5.

Graves was a contract specialist and senior contracts administrator with DOS’s Office of
Acquisitions Management (“AQl\/l”) from November 2011 to February 2013. During this time,
Graves used his official position to steer DOS contracts to Duff and HERC while Graves, among

other things: (a) negotiated an unsigned partnership agreement with Duff and was a silent or de

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 3 of 14 Page|D# 50

facto partner in HERC; (b) assisted HERC and Duff in obtaining start-up capital and developing
business and joint venture opportunities; (c) made loans or capital contributions to Duff, some of
which was used to pay HERC’s contracting expenses; (d) received payments from Duff; (e) used
his official position to take action upon, and make decisions and recommendations regarding,
DOS procurement matters and solicitations involving HERC and Duff; (f) provided Duff, HERC,
and HERC’s joint venture partners with confidential bid and procurement information; and (g)
participated in HERC’s internal meetings, conference calls, and e-mail communications
regarding business operations and development, including discussions regarding contracts that
Graves oversaw in his official capacity. Ia'. at 1[11 3, 7.

In February 2013, Graves left DOS to become HERC’s majority owner and a company
executive Graves represented HERC in communications directly with AQM contracting
officials and other DOS employees concerning HERC’s contract performance and payment on
contracts awarded to HERC that Graves previously oversaw while at DOS. See Dkt. 8 at 1111 8-9.

As part of the conspiracy, Duff and Graves intentionally concealed from DOS and others
that Graves had a conflict of interest While working _for DOS, Graves sought out contracting
opportunities for HERC and Duff, introduced Duff to DOS employees and current or prospective
DOS contractors, provided advice on the preparation of bid proposals, and supplied Duff with
confidential bid and procurement information Duff and HERC used this information to gain a
competitive advantage over other prospective contractors Id. at 11 12(a)-(d).

B. Duff’s Proffer Interview on March 10. 2016

Duff admitted as part of his guilty plea that he made false and misleading statements
during a telephonic interview that was subject to a proffer agreement on March 10, 2016. Dkt. 8
at 11 12(e). The proffer focused on Duff and Graves’ business and personal relationship and

whether they had engaged in unlawful conduct. Duff was represented by counsel during the

_3_

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18. Page 4 of 14 Page|D# 51

proffer; he was advised that the proffer letter agreement required him to provide truthful
information; and he was warned about the consequences of making false statements

During the proffer, Duff denied that he and Graves had engaged in any wrongdoing, and
he made exculpatory statements regarding Graves’ conduct.3 As a result, the government had to
reevaluate and reexamine its existing evidence and develop additional investigative leads to
assess the validity of Duff’s responses.

Over the next 23 months, the government devoted a substantial amount of time,
resources, and manpower to get to the truth of the matter. The prosecution team expanded to
include two case agents, two prosecutors, and several analysts, paralegals, and staff members
from DOS-OIG, FBI, and the U.S. Attorney’s Office. Several investigative techniques were
used, including witness interviews, testimony, the execution of an additional search warrant, and
the gathering (and review) of financial, business, and government records that were obtained
through grand jury subpoenas or Voluntary document productions A summary of these
investigative steps is included in the attached declaration of one of the case agents from DOS-

OIG, Assistant Special Agent in Charge Michael Speckhardt. See Exhibit 1.

 

3 Specifically, Duff falsely stated that: (a) he and Graves did not have serious discussions

about Graves becoming a business partner prior to Graves’ submission of his resignation to DOS
in 2013; (b) Graves did not recommend HERC to others regarding DOS contracts awarded to
HERC in 2012 ; (c) Duff never spoke with Graves about DOS contracts or asked Graves to give
HERC recommendations; (d) Graves played no role with respect to a power generator contract
awarded to HERC; (e) Graves never discussed competitor pricing or what cost should be
submitted; and (f) Duff and Graves never discussed Duff’s consulting work with a joint venture
partner, and Duff did not explain to Graves his relationship with the joint venture partner. These
statements are contradicted by Duff’ s own statement of facts (see, e.g., 1111 4, 7, 11-12) and
numerous e-mails and documents, including those mentioned or quoted in Graves’ 24-page
statement of facts. See, e.g., United States v. Steven J. Graves, Crim. Case No. l:l7-cr-205, Dkt.
5 at 1111 4, 7, 11-15, 17-24, 30-49, 51-82. The government has provided a copy of the interview
report to defense counsel and will have a copy available for the Court.

_4_

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 5 of 14 Page|D# 52

II. Argument

A. As the Court Previouslv Found, the Loss Amount For Guideline Purposes Is
Over $1.37 Million. Warranting a 14-Level Adiustment

The parties concur that the loss amount here is more than $250,000, but less than $1.5
million. For the reasons set forth below, the government contends that the loss amount for
guideline purposes is $l,372,496.61.4 This amount reflects the net income that HERC received
on the two DOS contracts that Graves admittedly steered to Duff and HERC.

Section 2B1.l(b)(1) of the Sentencing Guidelines provides for escalating offense-level
increases depending on the amount of pecuniary loss that resulted from the offense conduct.
Application Note 3 explains how the amount of loss should be calculated under subsection
(b)(l).5 See U.S.S.G. § 2B1.1 cmt. n.3. Application Note 3 generally defines “1oss” as “the
greater of actual loss or intended loss,” id. at n.3(A), and it provides that the sentencing judge
“need only make a reasonable estimate of the loss.” Id. at n.3(C). “Actual loss,” which is often

referred to as a “but for” loss, means “the reasonably foreseeable pecuniary harm that resulted

 

4 ln paragraph 8 of the plea agreement (see Dkt. 7), the parties agreed that the restitution

amount is at least $250,000. Although the government believes that the loss amount is greater
than this figure, it is only seeking a restitution amount of $250,000 because: (l) it would be
difficult and time-consuming to determine the exact amount of loss (above this threshold
amount) with reasonable certainty; and (2) unlike the calculation for guideline purposes, the
calculation for restitution must be based on actual loss and not gain received by a defendant
E.g., United States v. Harvey, 532 F.3d 326, 341 (4th Cir. 2008) (citing cases); United States v.
Zangari, 677 F.3d 86, 92 (2d Cir. 2012).

5 An Application Note to a sentencing guideline is authoritative and binding on federal

courts if it is not plainly erroneous or inconsistent with the guideline it is interpreting See
Stinson v. United States, 508 U.S. 36, 38 (1993); United States v. Hudson, 272 F.3d 260, 263
(4th Cir. 2001); United States v. Banks, 130 F.3d 621, 624-25 (4th Cir. 1997); United States v.
Warcl, 908 F. Supp. 350, 354 (E.D. Va. 1995).

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 6 of 14 Page|D# 53

from the offense.”6 Id. at n3(A)(i). “Pecuniary harm” is defined in the guidelines as “harm that
is monetary or that otherwise is readily measurable in money,” which therefore excludes various
forms of non-economic harm. Id. at n.3(A)(iii). Pecuniary harm is reasonably foreseeable if it is
“harm that the defendant knew or, under the circumstances, reasonably should have known was
a potential result of the offense.” U.S.S.G. §2B1.1, cmt. n3(A)(iv). All reasonably foreseeable
losses that flow directly, or indirectly, from a defendant’s conduct should be included in the loss
calculation

Application Note 3 also includes rules of construction in certain situations “ln the case
of a procurement fraud, such as a fraud affecting a defense contract award, reasonably
foreseeable pecuniary harm includes the reasonably foreseeable administrative costs to the
government and other participants of repeating or correcting the procurement action affected,
plus any increased costs to procure the product or service involved that was reasonably
foreseeable.”7 U.S.S.G. § 2B1.1, cmt. 3(A)(v)(ll). Here, DOS did not repeat the procurements,
since HERC provided actual performance, but DOS did incur increased costs that were
reasonably foreseeable

By issuing the contracts on a sole-source basis to a company that lacked experience and a

proven track record (despite Graves’ assurances to the contrary), DOS absorbed substantial cost

 

6 lntended loss, by contrast, is defined in the guidelines as “pecuniary harm that the

defendant purposely sought to inflict.” U.S.S.G. § 2B1.1, cmt. 3(A). The defendant’s subjective
intent is relevant to the intended loss inquiry.

7 Arguably, the contracts at issue here fall under the “benefits contract rule,” See U.S.S.G.
§ 2B1.1, cmt. n.3(F)(ii), because they were both sole-sourced set aside contracts given HERC’s
status as a HUBZone small business The starting point for determining loss under the “benefits
contract rule” is typically the full amount of the benefits obtained Courts have reached different
conclusions as to whether set-aside contracts should be construed under the general
“procurement fraud” rule or the “benefits” special rule.

_6_

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 7 of 14 Page|D# 54

overruns and additional expenses to make corrections or repairs8 lt also potentially paid a
premium on the front end to award set-aside contracts without competition The amount of the
actual costs cannot be determined with certainty because: (a) Graves, while laboring under his
conflict of interest, ensured that there were no other bidders or normal competitive processes; (b)
HERC and DOS repeatedly blamed each other for various cost overruns and performance issues,
which ultimately caused DOS to compromise its position and pay substantial settlement claims,
delay costs, and requests for equitable adjustments (totaling approximately $544,338.43); (c) the
original award amount on each contract was increased dramatically due to post-award
modifications, with a portion of these modifications appearing to address cost overruns (as
opposed to ordinary changes to a proj ect’s scope); and (d) DOS reportedly received incomplete
performance on one of the contracts, which caused DOS to take corrective action Thus,
although the amount of the loss is unclear, at least a portion of the cost overruns, repairs, and
corrective actions was due to HERC’s inexperience and inability to perform rather than
legitimate delay caused by the government

Given the uncertainties associated with the actual costs incurred by DOS, the government
submits that the more straightforward manner to assess cost in this instance is to look at the gain

or net profit that HERC received from the contract awards. The Sentencing Guidelines allow a

 

8 lndeed, numerous e-mails and documents reflect that HERC and DOS constantly

discussed performance-related problems that were causing cost overruns and the need for
corrective action For instance, on one of the contracts, which dealt with the supply and
installation of large generators at the U.S. Embassy in Kabul, Afghanistan (“USEK”), HERC did
not have the engineering experience and personnel for the installation process lt subcontracted
the installation work to a firm that was subsequently deemed inadequate Consequently, DOS
and HERC had to use a second firm (which billed HERC $74,311.05) to make repairs and
corrections and to complete the installation process Likewise, in 2014, DOS incurred additional
costs to complete HERC’s construction of a pre-fabricated building at the USEK, including
electrical work and the installation of a fire suppression system.

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Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 8 of 14 Page|D# 55

court to use “the gain that resulted from the offense as an alternative measure of loss only if there
is a loss but it reasonably cannot be determined” U.S.S.G. § 2B1.1, cmt. 3(B). See also United
States v. O]j‘ill, 666 F.3d 168, 180 (4th Cir. 2011) (using gain as an alternative measure of loss
for guideline purposes in securities fraud case). In calculating gain, however, the government
recognizes that there should be an offset or credit here for the fair market value of services
rendered by HERC to DOS before the offense was detected Id. at cmt. 3(E)(i).

Unlike the actual loss amount incurred by DOS, the net gain in this case is easy to
calculate when looking at HERC’s invoices, DOS’s procurement files (including DOS payment
records), and HERC’s own QuickBooks, which set forth HERC’s net profit on each contract,
including each itemized modification Graves has specifically admitted that he used his official
position to assist HERC in obtaining two contracts: (1) a set-aside purchase order in which
HERC, due to its HUBZone certification was selected to construct a prefabricated building at
the USEK to install radio systems in USEK vehicles (Purchase Order No. SAQMMA12C0255);
and (2) a contract to supply two power generators to the USEK, which was subsequently
modified to include the supply and installation of additional generators (Contract No.
SAQMMA12M2357). lncluding modifications it is undisputed that HERC received a gross
profit of approximately $3.5 million from these two contract awards The company’s own
bookkeeping also reflects that HERC received a net profit of $805,866.50 on the radio repair
building purchase order and $566,630.11 on the contract to supply and install generators at the
USEK. A summary of these numbers are set forth below.9 The Court, utilizing the same

numbers, previously found the loss mount in Graves’ case to be $l,372,496.6l.

 

9 The government made HERC’s QuickBooks, including certain spreadsheets generated
from the software, available to Duff.

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 9 of 14 Page|D# 56

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B. Duff Obstructed the Investigation Into Graves and Duff’ s Misconduct,
Therebv Warranting a Two-Level Enhancement Under U.S.S.G. § 3C1.1

Because Duff significantly obstructed, hindered, and impeded the administration of
justice, the government respectiiilly requests that the Court apply a two-level adjustment
pursuant to U.S.S.G. § 3C1.1.

Section 3Cl .l contemplates varying degrees of obstructive conduct and corresponding
sanctions Although unsworn false statements to law enforcement officers are generally not
covered by U.S.S.G. § 3C1.1, Application Note 4(G) states that the adjustment applies when the
defendant “provid[es] a materially false statement to a law enforcement officer that significantly
obstructed or impeded the official investigation or prosecution of the instant offense.”10 [d.
Materiality is a “conspicuously low” bar under § 3C1.1, United States v. Gormley, 201 F.3d 290,
294 (4th Cir. 2000) (internal marks omitted), and it only requires that the statement, “if believed,
would tend to influence or affect the issue under determination.” U.S.S.G. § 3C1.1, cmt. n6.
See also United States v. Ortiz-Rodriguez, 702 F. App’x 117, 119 (4th Cir. 2017) (unpublished);
United States v. Hill, 664 F. App’x 341, 344 (4th Cir. Nov. 29, 2016) (unpublished).

Duff’s false statements in this case are material and significant, and they fall squarely
within the exception The government wasted nearly two years disproving Duffs lies As noted
in Agent Speckhardt’s declaration had Duff implicated Graves from the get-go (as he now has in

his statement of facts), the government could have truncated its investigation of Graves and

 

10 Although the adjustment typically does not apply to unsworn false statements to law

enforcement officers that are either immaterial or insignificant, such false statements can
nonetheless serve as a basis for “a greater sentence within the otherwise applicable guidelines
range.” U.S.S.G. § 3C1.1, cmt. n.5.

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 10 of 14 Page|D# 57

resolved his liability in a far more efficient and expeditious manner. Moreover, had Duff simply
provided truthful and complete information_as he was required to do under the terms of the
proffer agreement_the government would have saved an enormous amount of time, resources
manpower, and effort, all of which it could have devoted to other investigations and cases

The government anticipates Duff will argue that: (1) he merely denied his guilt during
the proffer; (2) his efforts to thwart the investigation Were ultimately unsuccessfiil; and (3) his
false statements were not that irnpactful or material. These arguments, if raised, are meritless

First, although a defendant’s mere denial of guilt is typically an insufficient basis for
applying the adjustment, See U.S.S.G. § 3C1.1, cmt. n 2, caselaw in this circuit11 and
elsewheref2 makes clear that materially false statements that hinder an investigation and cause
the government to waste time, resources, or manpower can be a basis for an enhancement under
U.S.S.G. § 3C1.1. For instance, in United States v. Pouncy, 71 F. App’x7229, 230 (4th Cir.

2003) (unpublished), the defendant lied when he initially told ATF agents that firearms he had

 

11 See, e.g., United States v. Pouncy, 71 F. App’x 229, 230 (4th Cir. 2003) (unpublished)
(defendant’s lies caused ATF agents to waste time and resources); United States v. Hz'll, 664 F.
App’x 341, 343 (4th Cir. 2016) (unpublished) (defendant obstructed investigation by, among
other things, making “material misrepresentations” to case agent that “obstructed the
investigation . . . and hindered it” because the misrepresentations bought the defendant additional
time to destroy evidence and cover her tracks); United States v. Simmons, 186 Fed. Appx. 357,
359 (4th Cir. 2006) (unpublished) (affirming district court’s application of obstruction
enhancement Where the defendant provided false identification to law enforcement officials on
more than one occasion thereby causing a multi-month delay in his arrest).

12 E.g., United States v. Francz`s, 39 F.3d 803, 811 (7th Cir. 1994) (obstruction enhancement
proper where the defendant’s retraction of information previously given about co-conspirators
caused government to reinvestigate and reevaluate its case, thereby impeding its investigation
and prosecution); United States v. Selvz`e, 684 F.3d 679, 684 (7th Cir. 2012) (applying adjustment
where defendant told witnesses to lie to officers, which caused the police to launch an
investigation conduct interview(s), and expend time and manpower to vet false allegations);
United States v. Hawkz`ns, No. 08-CR-66-LRR, 2009 WL 2253188, at *10 (N.D. lowa July 28,
2009) (“By leading law enforcement to believe that he was not involved in the robbery,
[Hawkins] cost the government valuable time, manpower and other resources.”).

_10_

Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 11 of 14 Page|D# 58

purchased in West Virginia were stolen from a truck in that jurisdiction Over a year later, the

defendant admitted the guns were stolen from his car in Detroit, Michigan After the district

court applied the obstruction enhancement, the Fourth Circuit affirmed, explaining that the ATF

agents “spent resources and time developing leads and attempting to locate the guns in West `
Virginia, where [the defendant] initially told them they were stolen lf ATF agents had the l
correct information that the guns had been stolen in Detroit, their investigation would not have

been so impeded.” Ia'. at 230-31.

Second, courts have routinely found that a false statement regarding the culpability of a
co-defendant is sufficient to support the enhancement See United States v. Edwards, No. 99-
4082, 1999 WL 645119, at *3 (4th Cir. Aug. 25, 1999) (unpublished) (applying enhancement
where defendant withheld information in proffer interview that implicate co-defendant); United
States v. Diaz, 195 F. App’x 124 (4th Cir. 2006) (unpublished) (“A false statement regarding the
culpability of a co-defendant is sufficient to support the enhancement.” (citing United States v.
Kiulin, 360 F.3d 456, 460 (4th Cir. 2004)); Ortiz-Rodriguez, 702 F. App’x at 119 (district court’s
application of obstruction enhancement was not clearly erroneous where the defendant, during
trial preparation session denied co-defendant’s involvement in conspiracy, which caused the
government to make Giglz`o disclosure).

Third, whether Duff’ s false statements successfully obstructed the investigation or
whether the case agents were ultimately led astray is not determinative United States v. Hz'c/cs,
948 F.2d 877, 886 (4th Cir. 1991) (“defendant need not be successful in obstructing justice
through the false statement, since § 3Cl.l encompasses attempts to obstruct justice as well as
actual obstruction”); United State.s' v. Dowd, 4 F. App’x 193, 195 (4th Cir. 2001) (unpublished)

(obstruction adjustment was appropriate even if investigators were not significantly misled by a

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Case 1:18-cr-OOO42-LO Document 13 Filed 06/29/18 Page 12 of 14 Page|D# 59

defendant’s false alibi); Pouncy, 71 F. App’x at 23 0-31 (ignoring defendant’s argument that the
ATF agents would not have identified the guns any faster if he had told them the truth). The key
question is whether the unsworn false statements significantly hindered the investigation And
here, there is no doubt. Duff’ s lies caused the prosecution team to divert and squander
substantial resources His lies were not a simple denial of guilt, nor were they the result of
confusion faulty memory, a mistake of fact, or being surprised or “caught off guard.” Duff was
represented by counsel, he understood the terms of the proffer agreement, and he knew the
importance of telling the whole truth during the interview. Despite knowing the consequences
Duff made a calculated decision to exculpate himself and Graves and mislead the prosecution
His willfulness warrants a two-level adjustment

C. Duff Should Not Receive a Downward Variance

Even if the Court denies our request to enhance Duff’s guideline calculation his
obstructive behavior calls for -“a greater sentence within the otherwise applicable guidelines
range.” U.S.S.G. § 3C1.l, cmt. n.5. Duff has not cooperated with the government’s
investigation and he has been recalcitrant.

There is also no sentencing factor weighing in Duffs favor when considering 18 U.S.C. §
355 3(a). Duff' s admissions as well as the voluminous investigative record, demonstrate that he
and Graves profoundly abused the public’s trust. The procurement fraud scheme executed here
is perhaps the most insidious type because it is difficult to detect. Graves’ position afforded him
considerable discretion and latitude when exercising his official duties concerning large, multi-
million dollar contracts He was entrusted to negotiate and acquire a substantial amount of
materials supplies and construction services for DOS` so that DOS could fulfill its mission in

warzone areas and developing countries

_12_

Case 1:18-cr-00042-LO Document 13 Filed 06/29/18 Page 13 of 14 Page|D# 60

Duff and Graves exploited the fact that Graves was required to negotiate with vendors in
a fast-paced working environment with limited oversight Over a multi-year period, Duff and
Graves sought to defraud DOS by steering contracts to HERC, Graves and Duff. The co-
conspirators took substantial steps to conceal their illicit activity and Graves’ conflict of interest f
Under the circumstances applying a sentence within the applicable guideline range is sufficient,
but not greater than necessary, to comply with the purposes set forth in section 3553(a). l
Anything less would not adequately reflect the seriousness of the offense, promote respect for
the law, provide just punishment for the offense, or adequately deter other procurement officials
from engaging in similar deceit and fraud
III. Conclusion

For the fore goingreasons the government respectfully submits that Duff is not entitled to
a downwardvariance under section 3553(a) and the Court should: (1) calculate a total offense
level based on a loss amount of $l,372,496.6l; (2) apply an obstruction enhancement; and (3)
issue a restitution order in the amount of $250,000.

G. Zachary Terwilliger
United States Attorney

Byr %%Lo

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_13_

Case 1:18-cr-00042-LO Document 13 Filed 06/29/18 Page 14 of 14 Page|D# 61

CERTIFICATE OF SERVICE

l hereby certify that on this date, l electronically filed the foregoing with the Clerk of the

Court using the CM/ECF system, which will send notification of such filing to the attorney of

M ` l
Edwérd P. sullivan
Special Assistant United States Attorney (LT)

record for the defendant

Dated: June 29, 2018

_14_

